Case 5:23-cv-02245-RGK-BFM      Document 54    Filed 11/05/24     Page 1 of 3 Page ID
                                     #:498
                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA

                      CIVIL MINUTES – GENERAL

Case No.:    5:23-cv-02245-RGK-BFM                  Date:       November 5, 2024

Title:    Jeff Macy v. California Highway Patrol Running Springs, et al.



================================================================
Present: The Honorable Brianna Fuller Mircheff, United States Magistrate Judge


    Christianna Howard                                            N/A
     Deputy Clerk                                        Court Reporter / Recorder

  Attorneys Present for Plaintiff:                Attorneys Present for Defendants:
            N/A                                                   N/A

Proceedings:       (In Chambers) Order Re: Motions for Sanctions (ECF
                   47, 52)

      Plaintiff has filed two Motions requesting discovery sanctions. The first
relates to conduct that occurred during a deposition. (ECF 47.) That Motion is
fully briefed; Defendants filed an opposition (ECF 50) and the time for
Plaintiff’s optional reply has passed. The second Motion relates to Plaintiff’s
receipt of discovery from Defendants that, he claims, was intentionally
damaged and manipulated. (ECF 52.)

      With respect to the first Motion, Plaintiff complains that (1) defense
counsel reached his hand across the table and put it in Plaintiff’s face; (2) that
defense counsel asked irrelevant questions; (3) that defense counsel was rude,
obnoxious, and threatening; (4) that Plaintiff should not have to be deposed
because he does not have an attorney; and (5) that defense counsel asked
Plaintiff’s wife questions. (ECF 47 at 3.) The Court sees no basis for court
intervention, let alone sanctions.

     First, a pro se litigant can be deposed just as any counseled party can.
Under Rule 30(c)(2), if a deponent (or counsel, where a deponent is represented

                                                                           Page 1 of 3
Case 5:23-cv-02245-RGK-BFM       Document 54     Filed 11/05/24     Page 2 of 3 Page ID
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by counsel) believes that a particular question is objectionable—for example, if
it seeks irrelevant information—the deponent may object “but the examination
proceeds.” That means the deponent must continue and answer the question.
Rule 30 provides only limited circumstances in which a person being deposed
can refuse to answer a question.

       With respect to defense counsel’s conduct, the Court reviewed the
transcript and concludes that the behavior reflected there does not warrant
imposition of a sanction. Plaintiff alleges that defense counsel yelled and put
his hand in Plaintiff’s face. The transcript reflects that defense counsel said,
“Mr. Macy, you need to stop”; and he essentially conceded, in the moment, that
he yelled. (ECF 50-1 at 24 (“I’ve never raised my voice in a deposition before.”).)
There is no excuse for uncivil behavior, but in mitigation, defense counsel had
asked his question repeatedly and had trouble getting a straight answer—or
even getting a word in edgewise. Immediately after this comment, defense
counsel asked for a break, and once back on the record, apologized to Plaintiff
for raising his voice. Defense counsel does not dispute that he put his hand up
“in a ‘stop’ gesture” to try to get Plaintiff to stop speaking, but states under
penalty of perjury that he remained in his seat while doing so and notes he was
separated from Plaintiff by the six-feet span of the table. There were no issues
in the remainder of the deposition, even when Plaintiff’s answers spanned
several pages of narration and offered seemingly irrelevant information. Under
these circumstances, the Court concludes that sanctions are not warranted.

         The first Motion (ECF 47) is therefore denied.

     Going forward, all parties and counsel are reminded to familiarize
themselves with this Court’s Professionalism and Civility guidelines, which
can be found at https://www.cacd.uscourts.gov/attorneys/admissions/civility-


                                                                             Page 2 of 3
Case 5:23-cv-02245-RGK-BFM       Document 54     Filed 11/05/24     Page 3 of 3 Page ID
                                      #:500
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and-professionalism-guidelines. These rules and procedures apply equally to
pro se litigants such as Plaintiff. See, e.g., Briones v. Riviera Hotel & Casino,
116 F.3d 379, 382 (9th Cir. 1997) (“pro se litigants are not excused from
following court rules”).

       The Court clerk is directed to strike the second Motion (ECF 52) from
the docket. The Motion does not reflect that Plaintiff complied with either the
Local Rule that requires parties to meet and confer before filing any motion, or
this Court’s procedures that require an informal discovery conference before
the filing of any discovery related motion. Plaintiff was previously warned that
any motion filed without complying with those instructions would be struck.
Moreover, this is a case where a meet and confer could be useful: Plaintiff
complains that he received a CD-ROM that was damaged; a meet and confer
with defense counsel may well solve that problem. The second complaint is that
Plaintiff claims certain video appears to have been manipulated; here again,
defense counsel might be able to resend the file through a different medium or
confirm that the video file Plaintiff received is the best available.

         IT IS SO ORDERED.


cc:      Jeff Macy, pro se
         Counsel of Record



                                                   Initials of Preparer:         ch




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